Case 1:20-cv-03010-APM Document 801 Filed 01/24/24 Page 1 of 10

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA, STATE OF
ARKANSAS, STATE OF CALIFORNIA, Case No. 1:20-cv-03010-APM
STATE OF FLORIDA, STATE OF GEORGIA,
STATE OF INDIANA, COMMONWEALTH | HON. AMIT P. MEHTA
OF KENTUCKY, STATE OF LOUISIANA,
STATE OF MICHIGAN, STATE OF ——— a _|
MISSISSIPPI, STATE OF MISSOURI, STATE

OF MONTANA, STATE OF SOUTH
CAROLINA, STATE OF TEXAS, AND

STATE OF WISCONSIN
Plaintiffs,
V.
‘Tanatu + Zs
GOOGLE LLC, ee
Defendant. te i | 2 | 24

STATE OF COLORADO, STATE OF
NEBRASKA, STATE OF ARIZONA, STATE
OF IOWA, STATE OF NEW YORK, STATE
OF NORTH CAROLINA, STATE OF
TENNESSEE, STATE OF UTAH, STATE OF | ©@S¢ No. 1:20-cv-03715-APM
ALASKA, STATE OF CONNECTICUT,
STATE OF DELAWARE, DISTRICT OF HON. AMIT P. MEHTA
COLUMBIA, TERRITORY OF GUAM,

STATE OF HAWAIL STATEOF ILLNO!s, |
STATE OF KANSAS, STATE OF MAINE,
STATE OF MARYLAND,
COMMONWEALTH OF MASSACHUSETTS,
STATE OF MINNESOTA, STATE OF
NEVADA, STATE OF NEW HAMPSHIRE,
STATE OF NEW JERSEY, STATE OF NEW
MEXICO, STATE OF NORTH DAKOTA,
STATE OF OHIO, STATE OF OKLAHOMA,
STATE OF OREGON, COMMONWEALTH
OF PENNSYLVANIA, COMMONWEALTH
OF PUERTO RICO, STATE OF RHODE
ISLAND, STATE OF SOUTH DAKOTA,
STATE OF VERMONT, COMMONWEALTH
OF VIRGINIA, STATE OF WASHINGTON,

NOTICE OF MOTION FOR RECUSAL JUDGE MEHTA UNDER RULE 2.11(A)

RECEIVED
Mail Room

Angela D, Cavsar, Clesk of Court —
1 U.S. District Court, Diatriet of Columbia

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NOTICE OF MOTION FOR RECUSAL JUDGE MEHTA UNDER RULE 2.11(A)

Plaintiff files in good faith this motion for recusal which includes this notice and
the accompanying memorandum of points and authorities, declaration in support, and
proposed Order.

Dated: January 5, 2024

RESPECTFULLY SUBMITTED,

/s/

/ Brad Greenspan UV),

Brad Greenspan

| hereby attest that | have on file all holographic signatures sponding te any

signatures indi d by a cont d sh {/8/ within this ¢-filed document.
244 5 Ave
Suite #G290
New York, NY 10001
Email: legalsupport!@nym.hush.com
Case 1:20-cv-03010-APM Document 801 Filed 01/24/24 Page 3 of 10

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA, STATE OF
ARKANSAS, STATE OF CALIFORNIA,
STATE OF FLORIDA, STATE OF GEORGIA,
STATE OF INDIANA, COMMONWEALTH
OF KENTUCKY, STATE OF LOUISIANA,
STATE OF MICHIGAN, STATE OF
MISSISSIPPI, STATE OF MISSOURI, STATE
OF MONTANA, STATE OF SOUTH
CAROLINA, STATE OF TEXAS, AND
STATE OF WISCONSIN

Plaintiffs,

v.
GOOGLE LLC,

Defendant.

STATE OF COLORADO, STATE OF
NEBRASKA, STATE OF ARIZONA, STATE
OF IOWA, STATE OF NEW YORK, STATE
OF NORTH CAROLINA, STATE OF
TENNESSEE, STATE OF UTAH, STATE OF
ALASKA, STATE OF CONNECTICUT,
STATE OF DELAWARE, DISTRICT OF
COLUMBIA, TERRITORY OF GUAM,
STATE OF HAWAII, STATE OF ILLINOIS,
STATE OF KANSAS, STATE OF MAINE,
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COMMONWEALTH OF MASSACHUSETTS,
STATE OF MINNESOTA, STATE OF
NEVADA, STATE OF NEW HAMPSHIRE,
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MEXICO, STATE OF NORTH DAKOTA,
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STATE OF OREGON, COMMONWEALTH
OF PENNSYLVANIA, COMMONWEALTH
OF PUERTO RICO, STATE OF RHODE
ISLAND, STATE OF SOUTH DAKOTA,
STATE OF VERMONT, COMMONWEALTH
OF VIRGINIA, STATE OF WASHINGTON,

Case No. 1:20-cv-03010-APM

HON. AMIT P. MEHTA

Case No. 1:20-cv-03715-APM

HON. AMIT P. MEHTA

MOTION AND MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR RECUSAL
JUDGE MEHTA UNDER RULE 2.11(A)

RECEIVED
Mail Room

JAN 08 2024

Angela D, Chesar, Clerk of Court
3 US. District Court, District of Columbia

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MOTION AND MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR RECUSAL
JUDGE MEHTA UNDER RULE 2.11(A)

I. INTRODUCTION

Petitioner respectfully moves this Court to grant this Motion For Recusal seeks Judge
Mehta recusal on the grounds under RULE 2.11 including subpart (A), 28 U.S.C. §§ 455(a),
(b)(1), and (b)(2).

Il. LEGAL STANDARD

Plaintiff seeks recusal under three sections of the statute:

Section 455(a) mandates “[a]ny justice, judge, or magistrate judge of the United States
shall disqualify himself in any proceeding in which his impartiality might reasonably be
questioned.” Section 455(b)(1) requires a judge to recuse “[w]here he has a personal bias or
prejudice concerning a party, or personal knowledge of disputed evidentiary facts concerning the
proceeding.” Section 455(b)(2) requires a judge to recuse “[w]here in private practice he served
as lawyer in the matter in controversy, or a lawyer with whom he previously practiced law
served during such association as a lawyer concerning the matter, or the judge or such lawyer has
been a material witness concerning it.”

“The D.C. Circuit has recognized that a motion to recuse should not be ‘lightly granted.’”
United States v. Nixon, 267 F. Supp. 3d 140, 146 (D.D.C. 2017) (quoting United States v.
Pollard, 959 F.2d 1011, 1023 (D.C. Cir. 1992)). Judges are presumed to be capable of carrying
out their sworn duties faithfully and impartially. See e.g., Philip Morris USA Inc. v. United
States Food & Drug Admin., 156 F. Supp.3d 36, 43, 49-50 (D.D.C. 2016). Because judges are
presumed to be impartial, the Court Must begin its analysis of a recusal request with a

presumption against disqualification. See SEC v. Bilzerian, 729 F. Supp. 2d 19, 22 (D.D.C.
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2010); United States v. Ali, 799 F.3d 1008, 1017 (8% Cir. 2015) (“A party introducing a motion
to recuse carries a heavy burden of proof; a judge Is presumed to be impartial and the party
seeking disqualification bears the substantial burden of proving otherwise.”) (citation omitted).
Section 455(a) mandates “[a]ny justice, judge, or magistrate judge of the United
States shall disqualify himself in any proceeding in which his impartiality might reasonably be
questioned.” When considering whether recusal is required under Section 455(a), the Court must
determine whether a “reasonable and informed observer would question the judge’s
impartiality.’” S.E.C. v. Loving Spirit Found., Inc., 392 F.3d 486, 493 (D.C. Cir. 2004) (quoting
United States v. Microsoft Corp., 253 F.3d 34, 114 (D.C. Cir. 2001)); see also Sao Paulo State of
the Federative Republic of Brazil v. Am. Tobacco Co., Inc., 535 U.S. 229, 232-33 (2002) (per
curiam) (holding that the perspective must be from a reasonable person knowing all the
circumstances); Liljeberg v. Health Servs. Acquisition Corp., 486 U.S. 847, 860-61 (1988). This
analysis requires an objective assessment of the appearance, not just the reality, of bias or
prejudice. See Liteky v. United States, 510 U.S. 540, 548 (1994).
I.ARGUMENT

Plaintiff submits as evidence and to meet the threshold required of the statue, the portion
of the transcript filed in this case from a bench hearing in 2021 during which Judge Mehta near
the very end of the hearing announces that Judge Mehta has been informed by his financial
advisor that Judge Mehta’s financial portfolio or portfolio of assets or portfolio of stocks or
portfolio of mutual funds has “taken a hit”. Judge Mehta provides no details regarding the “hit”.

For instance, Judge Mehta does not explain what period of time the “hit covers”, does not
explain or reveal how the general market performed to Judge Mehta’s portfolio during the same

period of time, does not explain if the “hit” was caused by a single holding in a single fund
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purchased or if the “hit” was caused by a more gradual decline in the value of a bundle of funds
Judge Mehta was holding.

Judge Mehta has instructed his financial advisor to begin purchasing mutual funds that
include ownership of the defendant’s publicly traded parent company. Judge Mehta has
determined that holding a portfolio of “small cap” focused mutual funds to avoid creating a
conflict of interest existing with the Defendant results in prejudice and harm to Judge Mehta but
does not provide any details of the prejudice, harm, or hardship he faces or faced or will face if
his policy begun when he began overseeing Case No. 1:20-cv-03010 does continue to be adhered
to.

Judge Mehta has determined that he must be able to purchase “large cap” focused mutual
funds in order to avoid prejudice, harm and hardship Judge Mehta was damaged by or threatened
by or faced. Judge Mehta never explains why he would not have been able to purchase “large
cap” focused mutual funds that also have a specific sector focus such as Oil or Natural Resources
or Asia. Judge Mehta never explains what research he completed or diligence he performed to
determine if his financial advisor’s reason given to Judge Mehta explaining why Judge Mehta
suffered a financial “hit” was accurate? Judge Mehta never explains if or why Judge Mehta
never raised the possibility that the financial advisor’s performance could be the reason for Judge
Mehta suffering the financial “hit” which Judge Mehta notified the parties of in the hearing.

Judge Mehta also never explains why he did not attempt to find or make use of a
different financial consultant that would oversee Judge Mehta’s financial investments using the
conflict procedures which Judge Mehta had designed and put in place at the start of overseeing
this case, to confirm that the financial “hit” was both inevitable and of a material nature even

using two different financial advisors
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I. Section 455(a)

Judge Mehta under Section 455(a) is required to recuse himself because his impartiality
can reasonably be questioned. Judge Mehta’s impartiality can reasonably be questioned
because the Judge after initially identifying and swearing to follow a procedure to avoid a
financial conflict with defendant in this case, then almost two years later at the end of a hearing
called for unrelated purposes, casually slipping in the mention of the “financial hit” at the end of
such unrelated purpose hearing. Under Section 455(a), Judge Mehta must recuse himself because
a general citizen would not understand why Judge Mehta needs to provide his financial advisor
with new instructions which result in the exact opposite outcome from the initial instructions
Judge Mehta provided to his financial advisor, unless also concurrently questioning Judge
Mehta’s impartiality.

Under Section 455(a), Judge Mehta must recuse himself because a general citizen would
not understand why Judge Mehta decided he must ensure his financial advisor begins acquiring
mutual funds with exposure to the defendant, unless also concurrently questioning Judge
Mehta’s impartiality.

Under Section 455(a), Judge Mehta must recuse himself because a general citizen would
not understand why Judge Mehta did not provide substantive details and facts including
declarations and affidavits of his financial advisor, and copies of financial statements supporting
the story of the financial “hit”, unless also concurrently questioning Judge Mehta’s impartiality.

However the general citizen would also believe recusal required under Section 455(a)
when adding to the above questions additional information, specifically, the fact:

1. Judge Mehta determined not to sanction the defendant for destroying evidence

it had promised to protect and preserve as discovery in this case despite the U.S. DOJ filing a
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motion seeking sanctions.

2. Judge Mehta granting the same defendant expansive rights and privileges
related to maintaining evidence under seal, all of which benefit the defendant and which there is
no historical precedent which has been submitted by any party.

3. Judge Metha determined not to sanction the defendant nor modify the Judge’s
grant of rights related to seal privileges even after it was discovered the defendant had initiated a
strategy to have its employees mark all of their communications with false marks and claims of
attorney client privilege while concurrently bec’ing or cc’ing an employee attorney to every
email communication occurring.

4. Judge Mehta refused to consider the findings of another Federal Judge related
to the same defendant committing the same criminal acts related to discovery violations.

II. 28 U.S.C. § 455(b)(1)

Under § 455(b)(1), a judge must recuse where “he has a personal bias or prejudice
concerning a party, or personal knowledge of disputed evidentiary facts concerning the
proceeding.” 28 U.S.C. § 455(b)(1).

This Judge has a personal bias favoring the Defendant Google which has been
demonstrated by the above cited facts and further as a result of the fact that Judge Mehta
determined to intentionally create this personal bias in favor of the Defendant by overruling his
own financial investment conflict protection procedure in order that the Judge could begin to
own mutual funds which owned shares of the Defendant so Judge Mehta could not only avoid
another financial “hit’ but also make enough profit upside to be made whole from suffering the
prior financial “hit” Judge Mehta referenced in the unlawful conflict waiver he attempted at the

end of an unrelated unnoticed hearing, then under 455(b)(1), recusal is required by Judge
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Mehta.

TW. RULE2.11

The Judge here is also bound under Rule 2.11 of Judicial Canon.
Under Rule 2.11(A)(1) recusal is required for the appearance of prejudice and bias
that will come with a situation found in this case and reason for this motion, where the Judge
oversees a filing or motion or decision related to a defendant which the Judge having originally
created a financial investment conflict protection procedure and then put such procedure into
place at the time the Judge began overseeing the case, then two years later terminates the
procedure after becoming distraught that such Judge’s financial losses were a result of being
precluded from being able to own shares or mutual funds holding shares of the Defendant.
Further, Rule 2.11 would not look favorably upon the fact that the Judge upon the termination
notice, provided not a single shred of evidence supporting any of the claims that same Judge
made when such matters concerned financial portfolios, investments, losses, “hits”, financial
advisors, and market performance over time, comparing sectors and markets over time including
market averages. Nor did the Judge even bother with defining the nature and magnitude of the
financial “hit” purported to have suffered ie: was it 1% down for the year, or 21% down for the
year? Was the Judge 1% down for the year when the S&P 500 was down 11% for the year?
V . CONCLUSION

Based on the foregoing, Petitioner respectfully requests that this Court grant Petitioner’s

Motion For Recusal in this action for the reasons cited herein.

Dated: January 5, 2024

RESPECTFULLY SUB

| hereby attest that | have on file all holographic signatures ding to any

/s/

signatures indicated by a contarmed signature (/S/ within this e-tiled document.

Brad Greenspan

Case 1:20-cv-03010-APM Document 801 Filed 01/24/24 Page 10 of 10

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